      Case 4:14-cr-00010-DPM         Document 514       Filed 10/16/15     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                                No. 4:14CR00010-07 JLH

HAROLD BLAKELY ALLEN, JR.                                                      DEFENDANT

                                          ORDER

       The sentencing hearing for Harold Blakely Allen, Jr., has been set for Thursday,

November 5, 2015. If counsel intends to file a sentencing memorandum, it must be submitted no

later than Friday, October 30, 2015. Any reply briefs must be filed by close of business on

November 4, 2015. Counsel are encouraged to review United States v. Kosmes, 792 F.3rd 973 (8th

Cir. 2015).

       IT IS SO ORDERED this 16th day of October, 2015.




                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
